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                            IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                     )    1:11-CR-017 LJO
                                                   )
12                           Plaintiff,            )   ORDER GRANTING GOVERNMENT’S
                                                   )   REQUEST TO SUBMIT EXHIBITS IN
13                                    v.           )   SUPPORT OF OPPOSITION TO
                                                   )   DEFENDANT’S MOTION FOR DISCOVERY
14   JORGE REYNA, et. al.,                         )   IN CAMERA AND UNDER SEAL
                                                   )
15                           Defendants.           )   DATE: August 19, 2011
                                                   )   TIME: 10:30 a.m.
16                                                 )   HONORABLE Lawrence J. O’Neill
17            The United States of America, by and through Benjamin B. Wagner, United States Attorney,
18   and Kathleen A. Servatius, Assistant United States Attorney, having requested permission to file the
19   government’s exhibits to its Opposition to the Defendant’s Motion for Discovery under seal until
20   further order of the Court and to submit them for the Court’s review in camera, good cause
21   appearing therefore;
22            IT IS HEREBY ORDERED that the Government’s Exhibits to its Opposition to Defendant’s
23   Motion for Discovery shall be submitted to the Court in camera and filed under seal until further
24   order of the Court.
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     IT IS SO ORDERED.
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     Dated:      August 8, 2011                      /s/ Lawrence J. O'Neill
27   b9ed48                                      UNITED STATES DISTRICT JUDGE
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